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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

UNITED STATES OF AMERICA,
           Plaintiff,                  CIVIL ACTION
      v.                               NO. 1:10-CR-285-2-CAP-ECS
JORGE LUIS ARCIGA-SAUCEDO,
           Defendant.

                               O R D E R

     This matter is currently before the court on the May 13, 2011,

Report and Recommendation of the Magistrate Judge (“the R&R”) [Doc.

No. 57]. The court notes that the defendant has filed no objections

to the R&R. After carefully considering the R&R [Doc. No. 57], the

court receives it with approval and ADOPTS it as the opinion and

order of this court.

     SO ORDERED, this 27th     day of June, 2011.



                                 /s/Charles A. Pannell, Jr.
                                 CHARLES A. PANNELL, JR.
                                 United States District Judge
